184 F.2d 332
    HAWKEYE CASUALTY COMPANY, a Corporation, Appellant,v.Leon POWELL et al.
    No. 14109.
    United States Court of Appeals Eighth Circuit.
    September 14, 1950.
    
      Appeal from the United States District Court for the Western District of Missouri.
      Sprinkle &amp; Knowles, Kansas City, Mo., for appellant.
      Trusty, Pugh &amp; Green and Popham, Thompson, Popham, Mandell &amp; Trusty, all of Kansas City, Mo., for appellees.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on application of counsel for appellant in open Court.
    
    